Case 2:07-md-01873-KDE-MBN Document 14459 Filed 06/22/10 Page 1 of 3

Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page1of6 /U~
& AO 440 (Rev_ 04/08) Civil Summons
UNITED STATES DISTRICT COURT

for the

EASTERN District of LOUISIANA

ALYSIA MCCRARY, ET AL )
Plaintiff )
v. ) Civil Action No. 09-5975
THOR CALIFORNIA, INC. ET AL )
Defendant )

Summons in a Civil Action

To: (Defendant's name and address)
The United States of America, through
ERIC HOLDER, US Attorney General
950 Pennsylvania Ave., NW
Washington, DC 20530

A lawsuit has been filed against you.

Within _60_ days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attomey, whose name and address are:
Justin I. Woods
1100 Poydras St., Suite 2800
New Orleans, LA 70163-2800

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Date: May 27 2010

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SAB tins

(Use 60 days if the defendant is the Untted States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule }2(a)(3).)

Case 2:07-md-01873-KDE-MBN Document 14459 Filed 06/22/10 Page 2 of 3
Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page 2 of 6

& AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service

I declare under penalty of perjury that I served the summons and complaint in this case on

by:

(1)personally delivering a copy of each to the individual at this place,

> Or

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

sor
(4) retuming the summons unexecuted to the court clerk on ; or
(5) other (specify)

My fees are $ for travel and $ for services, for a total of $ 0.00

Date:

Server’s signature

Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14459 Filed 06/22/10 Page 3 of 3

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USPS

UNITED StaTES POSTAL SERVICE First-Class Mail
Permit No. G-10

° Sender: Please print your name, address, and ZIP+4 in this box ¢

Justin I. Woods, Esq.
“Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde: 09-5975, Alysia McCrary
WevsD acanadbatbevasDD scabs TscdetbsoedTvee/Dysrddaasaaflal

beh 0) / =) Mar #2 iach ey ple) Mite), Ny aR ssh

A. Signature

ND) Meleli Maranon
# Complete items 1, 2, and 3, Also complete

item 4 if Restricted Delivery is desired. xX fe eae OSE YE » O Agent

® Print your name and address on the reverse Lo fe Ro i‘ O Addressee
So that we can return the card to you. B. Received b 4 Ny leo ,

@ Attach this card to the back of the mailpiece, ey is ee ‘ SA Domeery
or on the front if space permits. Ha Ee

D. Is delivery address different from item1?_L Yes
If YES, enter delivery address below: 1 No
of

Eric Holder, U. S, Attorney General ae.
U.S. Department of Justice ve
950 Pennsylvania Avenue, NW

Washington, DC 20530-000]|

1. Article Addressed to:

3. Service Type
O Certified Mail =O] Express Mail
OD Registered CO Retum Receipt for Merchandise
O Insured Mail ~=Olcop.

4. Restricted Delivery? (Extra Fee) 22 Ol Yogi FEF

2. Article Number
__(Transfer from service label) 7008 14630 oog4 11497 e4eg

PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540

